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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

             TROY BARBER,                                        PRISONER CIVIL RIGHTS
                 Plaintiff,                                      42 U.S.C. § 1983

                    v.

             THEODORE JACKSON et al.,                            CIVIL ACTION NO.
                 Defendants.                                     1:l7-CV-3619-MHC-LTW

                             NON-FINAL REPORT AND RECOMMENDATION


                    Plaintiff is confined at the Fulton County Jail in Atlanta, Georgia (the "Jail").

             Plaintiff, pro se, seeks relief under 42 U.S.C. § 1983 for the alleged denial of his right

             to practice his religion at the Jail. (Doc. 1.) The Court granted Plaintiff leave to

             proceed     in forma pauperis   and now must screen his complaint.

             I.     The Screening Standard


                    A federal court must screen a prisoner's complaint to determine whether the

             action: (1) is frivolous or malicious; (2) fails to state a claim on which relief may be

             granted; or (3) seeks monetary relief against a defendant who is immune from such

             relief. 28 U.S.C. § 1915A. To state a claim for relief under 42 U.S.C. § 1983, a

             plaintiff must allege facts plausibly showing that: (1) an act or omission deprived him

             of a right, privilege, or immunity secured by the Constitution or a statute of the United

             States; and (2) the deprivation occurred under color of state law.        Richardson    v.




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             Johnson, 598 F .3d 734, 737 (11th Cir. 2010). If the alleged facts do not state a claim


             for relief that is plausible on its face, the complaint must be dismissed. Edwards v.


             Prime, Inc., 602 F.3d 1276, 1291 (11th Cir. 2010).

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             II.     Plaintiff's Allegations


                     Plaintiff has been a Muslim his entire fifty-three year life. Plaintiff is a state


             prisoner who returned to the Jail in November 2016 after previous confinement there


             on multiple occasions. The Jail's records of Plaintiffs previous confinement reflect


             his Muslim religion.


                     When Plaintiff was booked into the Jail on November 29, 2016, he identified


             himself as a Muslim. Defendant Geneva Gooden was the Jail clerk who completed


             Plaintiffs booking process. Unbeknownst to Plaintiff at that time, Gooden made an


             "administrative clerical error" by listing Plaintiff as a "Christian" on Jail records.


             (Doc. 1 at 7.)


                     Two weeks before the month of Ramadan in 2017, Plaintiff wrote Defendant


             Jerry Conner, who is the Jail's Chaplain, and requested that he be placed on the list




                     1   The factual allegations are taken from Plaintiffs complaint, liberally
             construed, and presumed true for purposes of the § l 9 l 5A screening. See Boxer Xv.
             Harris, 437 F.3d 1107, 1110 (11th Cir. 201 l);Hughes v. Lott, 350 F.3d 1157, 1159-60
             (11th Cir. 2003).

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             of inmates who wish to observe and participate in the obligatory fast during Ramadan.


             A week passed without a response, so Plaintiff submitted another written request. On


             May 25, 2017, Conner returned the request to Plaintiff with a copy of Plaintiffs


             booking information from November 2016, which indicated that his religion was


             "Christian." (Id. at 5.) That is when Plaintiff learned of the booking error.


                   On May 26, 2017, Plaintiff filed a grievance explaining the error. Seventeen


             days later, he received a response stating that he was listed as Christian in the Jail's


             records and that he should submit an inmate request form to Conner for more


             information. Plaintiff promptly did so and told Conner he needed to speak with him


             immediately to correct the mistake in the Jail's records.


                   Conner spoke with Plaintiff on June 19, 2017, twenty-four days into Ramadan,


             and again told him that he was listed in the Jail's records as a Christian. Plaintiff


             again responded that he was a practicing Muslim and that an error had been made in


             the Jail's records.   Conner told Plaintiff the decision to place an inmate on the


             Ramadan list was not solely Conner's decision, but also that of Defendant Sheriff


             Theodore Jackson.


                   Plaintiff asked Conner to check the records of Plaintiffs previous periods of


             confinement at the Jail to verify his assertion that he is Muslim. Conner refused to do




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             so, stating that he gets a lot of requests from inmates to participate in Ramadan and


             researching Jail records would take too much time. But Conner told Plaintiff that if


             he wanted his religious status changed to Muslim after Ramadan ended, he could write


             Conner at that time and Conner would change the status in the Jail's computer system.


             Conner also refuses to issue any type of Islamic material to inmates.


                      Conner's actions prevented Plaintiff from participating in: the appropriate


             fasting that is obligatory for Muslims during Ramadan; Jumu'ah services; and Eid al-


             Fitr, which is the Muslim celebration marking the end of Ramadan. Plaintiff was


             forced to hold his food for hours each day during Ramadan and eat it cold, which


             caused him digestive problems, severe constipation, and rectal bleeding.


                      Plaintiff named Jackson (the sheriff), Conner (the chaplain), and Gooden (the


             booking clerk) as Defendants. Plaintiff seeks compensatory and punitive damages,


             as well as injunctive relief, from all Defendants.


             III.     Analysis


                      "Inmates clearly retain protections afforded by the First Amendment [to the U.S.


             Constitution], including its directive that no law shall prohibit the free exercise of


             religion."   O'Lone v. Estate ofShabazz, 482 U.S. 342, 348 (1987). To state a viable

             claim under the First Amendment's Free Exercise Clause, an inmate must allege facts




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             plausibly showing "that the government has impermissibly burdened one of his


             sincerely held religious beliefs." Watts v. Fla. Int'/ Univ., 495 F.3d 1289, 1294 (1 lth


             Cir. 2007) (quotation marks omitted). The reasonableness standard set out in Turner


             v. Safley, 482 U.S. 78 (1987) is used to determine whether the challenged action


             impermissibly burdened the inmate's religious beliefs. O'Lone, 482 U.S. at 349-50;


             Hathcock v. Cohen, 287 F. App'x 793, 799 (11th Cir. 2008) ("[I]nmates retain the


             right to free exercise of religion subject to prison regulation consistent with the Turner


             reasonableness standard.").


                   Under Turner, a jail officials actions that impinge on an inmate's constitutional


             right to practice his religion are permissible if they are "reasonably related to


             legitimate penological interests." See Turner, 482 U.S. at 89. The following factors


             are relevant in determining the reasonableness of the challenged action: (1) whether


             there is a valid, rational connection between the action and the legitimate


             governmental interest that justifies it; (2) whether alternative means of exercising the


             constitutional right remain open to the inmate; (3) the impact accommodation of the


             asserted constitutional right will have on guards, other inmates, and the allocation of


             jail resources generally; and (4) whether there are ready alternatives to the challenged


             action that show that it is an exaggerated response to jail concerns. Id. at 89-90.




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                   Plaintiff has stated a viable claim that Conner, the Jail's chaplain, impermissibly


             burdened Plaintiff's right to practice his Muslim religion by unreasonably denying


             Plaintiff participation in Ramadan. Plaintiff alleged that although he told Conner on


             multiple occasions that he was a lifelong Muslim and that the Jail's records stated


             otherwise only because of a clerical error, Conner refused to take any steps to correct


             the error until after Ramadan - an important month for Muslims - had passed.


             Plaintiff alleged that he told Conner that the Jail's records of his prior confinement


             would confirm his Muslim religion, but Conner refused to check the records simply


             because he thought it would take too much time.


                   Plaintiff's allegations support a plausible finding that Conner was indifferent


             to Plaintiff's Muslim faith and his repeated requests to participate in Ramadan with


             other Jail inmates.    The allegations support a plausible finding that Conner


             unreasonably refused, without a legitimate reason, to take simple steps that would


             have enabled Plaintiff to practice his religion, thus preventing such practice and


             causing Plaintiff harm.   The allegation that Conner categorically refused to give


             inmates Islamic material further supports Plaintiff's claim.


                   Plaintiff has not stated a viable claim against the other Defendants. Plaintiff


             named Gooden as a Defendant only because she allegedly made an "administrative




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             clerical error" in listing Plaintiff as a Christian in the Jail's records during the booking


             process.      (Doc. 1 at 7.)   That allegation does not support a plausible finding that


             Gooden violated the Constitution. See Bailey v. Bd. ofCty. Comm 'rs, 956 F.2d 1112,


             1121 n.8 (11th Cir. 1992) ("Negligent acts do not give rise to § 1983 liability.").


                   The only allegations regarding Defendant Jackson is that he is the sheriff and


             Conner said that he participates in the decision whether to place inmates on the


             Ramadan list. There are not any allegations that Jackson was personally involved with


             Plaintiff's requests, though, all of which went to Conner and were answered by


             Conner. It was only Conner who allegedly knew of and refused to correct the records


             error and refused to grant Plaintiff's pleas to participate in Ramadan. While Jackson


             may be a supervisory official responsible for all Jail operations, he "may not be sued


             under § 1983 for an injury inflicted solely by [his] employees or agents," i.e., he


             cannot be held vicariously liable for other persons' constitutional violations.        See


             Monell   v.   Dep't of Soc. Servs., 436 U.S. 658, 694 (1978). The complaint does not


             state a viable claim against Jackson.




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             IV.     Conclusion


                     For the foregoing reasons, IT IS RECOMMENDED that Plaintiffs First


             Amendment Free Exercise claim be ALLOWED TO PROCEED against Defendant


             Jerry Conner and that all other Defendants be DISMISSED.


                    SO RECOMMENDED, this         3             {Ja;I&,         , 2017.




                                                             AL KER
                                                 UNITED STATES MAGISTRATE JUDGE




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